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15                        UNITED STATES DISTRICT COURT
16                      SOUTHERN DISTRICT OF CALIFORNIA
17
18    Marco A. Fernandez, individually              Case No. 3:20-cv-1262-JM-AGS
19    and as a representative of the class,
                                                    FIRST AMENDED CLASS
20                             Plaintiff,           ACTION COMPLAINT
21
      v.                                            Violations of
22
                                                       (1) Fair Credit Reporting Act,
23    CoreLogic Credco, LLC,                               15 U.S.C. § 1681, et seq.;
                                                       (2) California Credit Reporting
24
                               Defendant.                  Agencies Act, Cal. Civ. Code
25                                                         § 1785.1, et seq.; and
26                                                     (3) California Unfair Competition
                                                           Law, Cal. Bus. & Prof. Code
27                                                         § 17200, et seq.
28
                                                    DEMAND FOR JURY TRIAL
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 1                       Case No. 3:20-cv-1262-JM-AGS
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 1          COMES NOW, Plaintiff Marco A. Fernandez (“Plaintiff”), on behalf of
 2   himself and the classes set forth below, and states as follows:
 3                                      INTRODUCTION
 4          1.     This is a class action for damages, costs, and attorneys’ fees brought
 5
     against Defendant CoreLogic Credco, LLC (“Defendant” or “CoreLogic”) pursuant
 6
     to the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”), the California
 7
     Consumer Credit Reporting Agencies Act, CAL. CIV. CODE § 1785.1, et seq.
 8
     (“CCRAA”) and the California Unfair Competition Law, CAL. BUS. & PROF. CODE,
 9
     § 17200, et seq. (“UCL”).
10
            2.     Defendant is a consumer reporting agency based in California that
11
     compiles and maintains files on consumers on a nationwide basis. It sells consumer
12
     reports generated from its database and furnishes these consumer reports to
13
14
     mortgage brokers, landlords, and management companies who use the reports to

15   make decisions regarding prospective borrowers and tenants.

16          3.     In October 2019, Plaintiff applied for a mortgage as part of the home-
17   buying process. In connection with his application, Pulte Mortgage LLC (“Pulte”)
18   requested a credit report from Defendant. The report provided by Defendant to
19   Pulte was inaccurate.
20          4.     Defendant inaccurately reported that Plaintiff was a person on the
21   United States Department of the Treasury, Office of Foreign Assets Control’s list
22   of Specially Designated Nationals and Blocked Persons (“OFAC-SDN & Blocked
23   Persons List”). Defendant’s report included a record that belongs to “Mario Alberto
24   Fernandez Santana,” a resident of Mexico, whose date of birth is in May 1977.
25
            5.     Contrary to the report, Plaintiff is not this individual.            Even a
26
     rudimentary review of the record would reveal that Mario Alberto Fernandez
27
     Santana has a completely different name than Plaintiff. The date of birth and
28
     address associated with Mario Alberto Fernandez Santana also differ vastly from
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 2                       Case No. 3:20-cv-1262-JM-AGS
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 1   Plaintiff’s date of birth and address.
 2          6.     When Plaintiff took steps to dispute the inaccurate report, sending a
 3   letter via Certified U.S. Mail identifying the inaccurate record and requesting
 4   CoreLogic correct the report, CoreLogic did not respond.
 5
            7.     Plaintiff later requested his consumer file from CoreLogic.
 6
     CoreLogic’s response did not include any information it reported to Pulte about
 7
     Plaintiff being on the OFAC-SDN & Blocked Persons List. Nor did the response
 8
     indicate that any report had been provided to Pulte.
 9
            8.     By issuing an inaccurate report about Plaintiff, Defendant violated
10
     § 1681e(b) of the FCRA and § 1785.14(b) of the CCRAA which require consumer
11
     reporting agencies to “follow reasonable procedures to assure maximum possible
12
     accuracy of the information concerning the individual about whom the report
13
14
     relates.” 15 U.S.C. § 1681e(b); CAL. CIV. CODE § 1785.14(b). As is evident from

15   its decision to match Plaintiff with someone who has a different name, different

16   date of birth, and different address than he has, Defendant does not employ
17   reasonable procedures to ensure the maximum possible accuracy of its reports.
18   Defendant’s failure to employ reasonable procedures resulted in Plaintiff’s report
19   being inaccurate.
20          9.     By not responding to Plaintiff’s dispute, Defendant violated § 1681i of
21   the FCRA and § 1785.16 of the CCRAA which require that consumer reporting
22   agencies conduct a reasonable reinvestigation to determine whether information
23   disputed by consumers is inaccurate, and record the current status of the disputed
24   information, or delete it, within thirty (30) days of receipt of notice of the dispute
25
     from a consumer.        15 U.S.C. § 1681i(a)(1)(A); CAL. CIV. CODE § 1785.16.
26
     Defendant also violated § 1681i(a)(6) of the FCRA by failing to provide Plaintiff
27
     with a timely written notice of the results of the reinvestigation.
28
            10.    By omitting the information it had reported to Pulte, which falsely
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 3                       Case No. 3:20-cv-1262-JM-AGS
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 1   stated Plaintiff was on the OFAC-SDN & Blocked Persons List, Defendant also
 2   violated § 1681g(a) of the FCRA because Defendant failed to provide Plaintiff with
 3   all information in his consumer file upon request.
 4          11.    By failing to identify Pulte, Defendant also violated 15 U.S.C. §
 5
     1681g(a)(3)(A) which requires that consumer reporting agencies provide the
 6
     “identification of each person . . . that procured a consumer report . . . during the 1-
 7
     year period preceding the date on which the request is made.”
 8
            12.    As a result of Defendant’s inaccurate reporting and failure to fix the
 9
     report or disclose that it had reported such inaccurate information, Plaintiff suffered
10
     distress and embarrassment, damage to his reputation, and is concerned that the
11
     inaccurate reporting could recur.
12
            13.    On behalf of himself, and classes of similarly situated individuals,
13
14
     Plaintiff brings claims pursuant to 15 U.S.C. § 1681e(b), CAL. CIV. CODE §

15   1785.14(b), 15 U.S.C. § 1681g(a), and the UCL.

16          14.    Plaintiff also brings an individual claim for Defendant’s violation of
17   15 U.S.C. § 1681i(a)(1)(A) and CAL. CIV. CODE § 1785.16.
18                                           PARTIES
19          15.    Individual and representative Plaintiff Marco A. Fernandez is a
20   resident of Hanover, Maryland.
21          16.    Plaintiff is a natural person.
22          17.    Defendant CoreLogic Credco, LLC is a Delaware limited liability
23   company with its principal office located at 10277 Scripps Ranch Blvd., San Diego,
24   California. CoreLogic is the largest provider of “merged credit reports in the United
25
     States” and supplies information to “19 of the top 20 mortgage lenders.”
26
     https://www.corelogic.com/solutions/credit-solutions-mortgage.aspx.
27
            18.    According to a declaration submitted by Defendant in King v.
28
     CoreLogic Credco, LLC, Case No. 17cv761 (E.D. Va.), Defendant’s executive
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 4                       Case No. 3:20-cv-1262-JM-AGS
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 1   leadership team (with the exception of one individual) is based in San Diego,
 2   California, and its management-level employees are all based in San Diego,
 3   California. Defendant’s information technology operations used to generate its
 4   reports, servers, and related personnel are based in San Diego. The employees who
 5
     maintain Defendant’s servers and technical documents are also based in San Diego.
 6
     In total, 214 of Defendant’s 322 employees are based in San Diego.
 7
            19.     Defendant’s policies and procedures at issue in this case were
 8
     developed, designed, and implemented in California.
 9
            20.     Defendant is a “consumer reporting agency,” as defined in the FCRA
10
     and CCRAA.         CoreLogic regularly engages in the business of assembling,
11
     evaluating, and disseminating information concerning consumers for the purpose
12
     of furnishing consumer reports to third parties.
13
14                              JURISDICTION AND VENUE
15          21.     Plaintiff initially filed this case in San Diego Superior Court.
16   Defendant removed the complaint asserting jurisdiction under 28 U.S.C. § 1331 and
17   28 U.S.C. § 1453. (ECF No. 1.)
18          22.     The Court has personal jurisdiction over Defendant. Defendant has its
19   principal office in this District, and conducts business in this District, including
20   issuing consumer reports on residents in this District, and delivers them to
21
     prospective mortgage brokers, landlords and management companies in this
22
     District.
23
            23.     Venue is appropriate under 28 U.S.C. § 1441(a).
24
                  FACTUAL ALLEGATIONS RELATING TO PLAINTIFF
25
            24.     In October 2019, Plaintiff began the process of purchasing a house.
26
     As part of the process, Plaintiff applied for a mortgage from Pulte.
27
            25.     In processing the mortgage application, a representative of Pulte
28

     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 5                       Case No. 3:20-cv-1262-JM-AGS
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 1   requested a consumer report from Defendant.
 2           26.   On or around October 18, 2019, Defendant prepared a consumer report
 3   regarding Plaintiff and furnished the report to Pulte for a fee.
 4           27.   The report states that it was prepared by “CoreLogic Credco” with an
 5
     address in San Diego, California. The report was generated, assembled, and
 6
     disseminated from California.
 7
             28.   The report contains sections which are different credit reporting
 8
     products: the “Credco Instant Merge Credit Report,” “Credit Score Disclosure,” and
 9
     “Credco ProScan OFAC Report.”
10
             29.   The Credco Instant Merge Credit Report and Credit Score Disclosure
11
     purport to contain information from consumer reporting agencies Experian,
12
     Equifax, and Trans Union. The Credco ProScan OFAC Report does not indicate
13
14
     that any of the data on the report came from any other consumer reporting agencies.

15           30.   Because the information on the Credco ProScan OFAC Report does

16   not come from other consumer reporting agencies, Defendant is not a “reseller” as
17   that term is defined in 15 U.S.C. § 1681a(u) with respect to the Credco ProScan
18   OFAC Report.
19           31.   According to Defendant, “ProScan OFAC automatically checks all of
20   your applicants against the OFAC database, and within seconds, returns easy-to-
21   review results.” Defendant also claims to have “[a]dvanced match logic” that
22   “reduces the likelihood of false positives.”1
23           32.   The Credco ProScan OFAC Report’s “OFAC Search Results” falsely
24   reported that Plaintiff was a match to a suspected narcotics trafficker included on
25
     the OFAC-SDN & Blocked Persons List.
26
             33.   Individuals and businesses in the United States are generally
27
28
     1
         https://www.corelogic.com/downloadable-docs/proscan-ofac.pdf
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 6                       Case No. 3:20-cv-1262-JM-AGS
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 1   prohibited from conducting business with anyone on the OFAC-SDN & Blocked
 2   Persons List. See, e.g., 31 C.F.R. § 536.201.
 3          34.    The OFAC-SDN & Blocked Persons List is publicly available through
 4   the United States Department of the Treasury, Office of Foreign Assets
 5
     Control       website,     https://www.treasury.gov/resource-center/sanctions/SDN-
 6
     List/Pages/default.aspx.
 7
            35.    The OFAC-SDN & Blocked Persons List is searchable online and is
 8
     also downloadable in both PDF and TEXT format.
 9
            36.    Plaintiff is not, and never has been, on the OFAC-SDN & Blocked
10
     Persons List.
11
            37.    Defendant reported “Mario Alberto Fernandez Santana” as the name
12
     on the OFAC-SDN & Blocked Persons List and associated a “DOB” of “1977-05”2
13
14
     and an address in “Zapopan, Jalisco, Mexico” with that name.

15          38.    Plaintiff’s full name is Marco Antonio Fernandez. The reported name

16   on the OFAC-SDN & Blocked Persons List has an entirely different first name
17   (Mario) and middle name (Alberto), and has two surnames (Fernandez Santana).
18   Defendant was aware of Plaintiff’s full name, as listed in the “Identification
19   Information” section of the report.
20          39.    The reported date of birth of May 1977 also differs from Plaintiff’s
21   date of birth in that it is a different month, day, and year. Defendant was aware of
22   Plaintiff’s full date of birth, as listed in the “Identification Information” section of
23   the report.
24          40.    Plaintiff has never lived in Mexico. Defendant was aware that Plaintiff
25
     never resided in Mexico. Defendant’s report contains an address history for
26
27   2
       The report contained a full date of birth here, but as this is a publicly-filed
28   pleading, Plaintiff has removed the specific day of birth information. Plaintiff is
     able to provide the full date of birth reported to the Court upon request.
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 7                       Case No. 3:20-cv-1262-JM-AGS
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 1   Plaintiff but lists no addresses in Mexico for Plaintiff under the “Address
 2   Information” section.
 3          41.    Defendant should have known that the name on the OFAC-SDN &
 4   Blocked Persons List is not the same as Plaintiff’s name. Plaintiff’s name is clearly
 5
     stated throughout the report under “Applicant Information” as “Fernandez, Marco”
 6
     and as “Fernandez, Marco Antonio” in the “Identification Information” section. In
 7
     addition to the obvious name mismatch, a simple review would have revealed that
 8
     the date of birth and address are not a match to Plaintiff.
 9
            42.    After receiving a copy of Defendant’s grossly inaccurate report from
10
     Pulte, Plaintiff was alarmed that his potential lender was informed that he was listed
11
     on the OFAC-SDN & Blocked Persons List.                     Plaintiff also felt distress,
12
     embarrassment, anger, and frustration that Defendant had falsely accused him of
13
14
     being a terrorist.

15          43.    Plaintiff disputed the contents of his report with Defendant, via

16   Certified U.S. Mail, marked as delivered to Defendant on November 8, 2019.
17   Defendant’s consumer relations department is located in San Diego. Plaintiff
18   mailed the dispute to Defendant’s consumer relations department in San Diego.
19   Defendant never responded to Plaintiff’s dispute.
20          44.    In February 2020, Plaintiff, through counsel, requested his full
21   consumer file and any consumer reports issued by Defendant regarding Plaintiff.
22   The request was sent to Defendant’s office in San Diego. The request was sent with
23   a signed authorization by Plaintiff authorizing his counsel to make such a request,
24   and a picture of Plaintiff’s driver’s license. The authorization requested that
25
     Defendant send the consumer file to Plaintiff’s counsel.
26
            45.    Defendant responded to Plaintiff’s counsel that it needed a “written
27
     authorization that specifically instructs Credco to provide a copy of the consumer
28
     report directly to you.” The authorization “must include the signature and seal of a
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 8                       Case No. 3:20-cv-1262-JM-AGS
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 1   notary public and your client’s Social Security number.” Alternatively, Defendant
 2   stated that it could “send a copy of the consumer report directly to your client.”
 3   Plaintiff’s counsel requested that the report be sent directly to Plaintiff.
 4          46.    Defendant then sent a letter from its San Diego office to Plaintiff
 5
     requesting that Plaintiff send in a copy of a utility bill to Defendant before it would
 6
     send him his report. Plaintiff faxed his utility bill to Defendant.
 7
            47.    Defendant sent Plaintiff a copy of his “consumer report.” However,
 8
     the report did not contain any OFAC-SDN information. Nor did the report show
 9
     that Pulte had pulled his consumer report.
10
            48.    Plaintiff contemplates purchasing real estate in the next few years and
11
     obtaining a mortgage loan.
12
            49.    Given Defendant’s failure to correct Plaintiff’s report, Defendant’s
13
14
     misleading failure to include the OFAC-SDN information in the file disclosure it

15   sent to Plaintiff, Defendant’s misleading failure to identify all entities to whom it

16   previously sent reports, and Defendant’s prominent role in the mortgage lending
17   market, Plaintiff is at risk of this inaccurate reporting recurring in the future.
18
     FACTS DEMONSTRATING THAT DEFENDANT WILLFULLY FAILED
19     TO USE REASONABLE PROCEDURES TO ASSURE MAXIMUM
20                    POSSIBLE ACCURACY

21          50.    If Defendant had reasonable procedures to assure maximum possible

22   accuracy, it would have determined that the information in Plaintiff’s consumer
23   report belonged to someone else with a partially similar name.
24          51.    But instead, Defendant erroneously matched Plaintiff with a suspected
25   terrorist with a different name, date of birth, and address.
26          52.    Defendant could have and should have checked the OFAC-SDN &
27   Blocked Persons List, which is readily available online, prior to issuing its report.
28   If it had done so, it would have discovered that a search for Plaintiff’s actual name,
     ___________________________________________________________________________________________
     FIRST AMENDED CLASS ACTION COMPLAINT - 9                       Case No. 3:20-cv-1262-JM-AGS
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  1   Marco Antonio Fernandez, returns no results.
  2          53.    The dangers of erroneous matching of persons with suspected
  3   terrorists on the OFAC-SDN & Blocked Persons List are well recognized in the
  4   tenant screening industry. In 2017, a jury awarded $60 million to a class of persons
  5
      who had been mismatched to the List by Trans Union. Ramirez v. Trans Union,
  6
      LLC, 3:12-cv-632 (N.D. Cal.). The Ninth Circuit substantially upheld the jury’s
  7
      verdict. And nearly a decade ago, the Third Circuit Court of Appeals upheld a jury
  8
      verdict for mismatching an individual to the List and refusing to provide the
  9
      reported OFAC-SDN information. Cortez v. Trans Union, LLC, 617 F.3d 688 (3d
 10
      Cir. 2010).
 11
             54.    It is also well-recognized that failing to require actual name matches
 12
      is inconsistent with reasonable procedures to ensure maximum possible accuracy.
 13
 14
      In re Gen. Info. Servs., Inc., No. 2015-CFPB-0028, Consent Order ¶¶ 10-12

 15   (C.F.P.B. Oct. 29, 2015).

 16          55.    In addition to the conduct set forth above, Defendant’s willful conduct
 17   is further reflected by, inter alia, the following:
 18                 a. Defendant is a corporation with access to legal advice through its
 19                     own general counsel’s office and outside litigation counsel. Yet,
 20                     there is no contemporaneous evidence that it determined that its
 21                     conduct was lawful;
 22                 b. Defendant knew or had reason to know that its conduct was
 23                     inconsistent with FTC guidance, caselaw, and the plain language of
 24                     the FCRA. Defendant was aware or should have been aware of the
 25
                        risks of its policies as identified in Ramirez, Cortez and In re Gen.
 26
                        Info. Servs. Defendant was also aware of problems with its
 27
                        matching procedures as a result of disputes, including Plaintiff’s
 28
                        dispute, which it failed to address;
      ___________________________________________________________________________________________
      FIRST AMENDED CLASS ACTION COMPLAINT - 10                       Case No. 3:20-cv-1262-JM-AGS
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  1                 c. Defendant voluntarily ran a risk of violating the law which was
  2                     substantially greater than the risk associated with a reading that was
  3                     merely careless;
  4                 d. Defendant knew that matching individuals using name only or a
  5
                        common name match would result in false positives. However, it
  6
                        persisted in doing so;
  7
                    e. If Defendant had reviewed its own report or consulted with the
  8
                        publicly available database, it would have been obvious that
  9
                        Plaintiff was not a match to the individual on the OFAC-SDN &
 10
                        Blocked Persons List; and
 11
                    f. Defendant’s violations of the FCRA and CCRAA were repeated
 12
                        and systematic.
 13
 14
             56.    At all times relevant hereto, Defendant’s conduct was willful and

 15   carried out in knowing or reckless disregard for consumers’ rights under the FCRA

 16   and CCRAA. Defendant’s conduct was intentionally accomplished through its
 17   intended procedures; these procedures have continued despite the fact that other
 18   consumer reporting agencies have been subject to court decisions and consumer
 19   complaints critical of similar conduct; and Defendant will continue to engage in this
 20   conduct because it believes there is greater economic value in selling over-inclusive
 21   consumer reports than in producing accurate reports.
 22                            CLASS ACTION ALLEGATIONS
 23          57.    Plaintiff brings his claims on behalf of himself individually, and,
 24   pursuant to Fed. R. Civ. P. 23, on behalf of the following classes, defined as:
 25
 26
                    Inaccurate Reporting Class

 27                 All individuals who were the subjects of consumer reports
 28                 furnished by Defendant which contained public record
                    information in the “OFAC/SDN” section of the reports where
      ___________________________________________________________________________________________
      FIRST AMENDED CLASS ACTION COMPLAINT - 11                       Case No. 3:20-cv-1262-JM-AGS
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  1                 the name or date of birth or address of the subject of the report
                    does not match the name or date of birth or address in the
  2                 government database in the seven years predating the filing of
  3                 the initial Complaint in this matter and continuing through the
                    date the class list is prepared.
  4
  5                 Inaccurate Reporting FCRA Subclass
  6
                    All individuals who were the subjects of consumer reports
  7                 furnished by Defendant which contained public record
  8                 information in the “OFAC/SDN” section of the reports where
                    the name or date of birth or address of the subject of the report
  9
                    does not match the name or date of birth or address in the
 10                 government database in the five years predating the filing of the
                    initial Complaint in this matter and continuing through the date
 11
                    the class list is prepared.
 12
 13                 Inaccurate Reporting UCL Subclass
 14                 All individuals who were the subjects of consumer reports
 15                 furnished by Defendant which contained public record
                    information in the “OFAC/SDN” section of the reports where
 16
                    the name or date of birth or address of the subject of the report
 17                 does not match the name or date of birth or address in the
 18                 government database in the four years predating the filing of the
                    initial Complaint in this matter and continuing through the date
 19                 the class list is prepared.
 20
                    Failure to Disclose Class
 21
 22                 All individuals (1) who were the subjects of consumer reports
 23
                    furnished by Defendant which contained public record
                    information in the “OFAC/SDN” section of the reports where
 24                 the name or date of birth or address of the subject of the report
 25                 does not match the name or date of birth or address in the
                    government database (2) who made a request to Defendant for
 26                 their consumer file or report and (3) for whom Defendant did
 27                 not disclose the OFAC/SDN information. The class period is
                    all persons who made requests to Defendant in the five years
 28
                    predating the filing of the initial Complaint in this matter and
      ___________________________________________________________________________________________
      FIRST AMENDED CLASS ACTION COMPLAINT - 12                       Case No. 3:20-cv-1262-JM-AGS
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  1                 continuing through the date the class list is prepared.
  2                 Failure to Identify Class
  3
                    All individuals (1) who were the subjects of consumer reports
  4
                    furnished by Defendant (2) who made a request to Defendant
  5                 for their consumer file or report and (3) for whom Defendant did
  6                 not identify the user that procured the consumer report within
                    the one-year period on which the request was made. The class
  7                 period is all persons who made requests to Defendant in the five
  8                 years predating the filing of the initial Complaint in this matter
                    and continuing through the date the class list is prepared.
  9
 10                 Failure to Disclose UCL Subclass
 11
                    All individuals (1) who were the subjects of consumer reports
 12                 furnished by Defendant which contained public record
 13                 information in the “OFAC/SDN” section of the reports where
                    the name or date of birth or address of the subject of the report
 14                 does not match the name or date of birth or address in the
 15                 government database (2) who made a request to Defendant for
                    their consumer file or report and (3) for whom Defendant did
 16
                    not disclose the OFAC/SDN information. The class period is
 17                 all persons who made requests to Defendant in the four years
 18                 predating the filing of the initial Complaint in this matter and
                    continuing through the date the class list is prepared.
 19
 20                 Failure to Identify UCL Subclass
 21
                    All individuals (1) who were the subjects of consumer reports
 22                 furnished by Defendant (2) who made a request to Defendant
 23
                    for their consumer file or report and (3) for whom Defendant did
                    not identify the user that procured the consumer report within
 24                 the one-year period on which the request was made. The class
 25                 period is all persons who made requests to Defendant in the five
                    years predating the filing of the initial Complaint in this matter
 26                 and continuing through the date the class list is prepared.
 27
 28          58.    The Classes satisfy the requirements of FED. R. CIV. P. 23.

      ___________________________________________________________________________________________
      FIRST AMENDED CLASS ACTION COMPLAINT - 13                       Case No. 3:20-cv-1262-JM-AGS
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  1          59.    Numerosity: The Classes are so numerous that joinder of all class
  2   members is impracticable. Given the volume of Defendant’s business, there are
  3   hundreds or thousands of class members.
  4          60.    Commonality: This case presents common questions of law and fact,
  5
      including but not limited to:
  6
             a)     Whether Defendant violated the FCRA by failing to follow reasonable
  7
                    procedures to ensure maximum possible accuracy of the information
  8
                    contained in consumers’ reports with respect to the OFAC-SDN &
  9
                    Blocked Persons information;
 10
             b)     Whether Defendant violated the CCRAA by failing to follow
 11
                    reasonable procedures to ensure maximum possible accuracy of the
 12
                    information contained in consumers’ reports with respect to the
 13
 14
                    OFAC-SDN & Blocked Persons information;

 15          c)     Whether Defendant violated 15 U.S.C. § 1681g(a) by not disclosing

 16                 OFAC-SDN & Blocked Persons information in response to consumer
 17                 requests;
 18          d)     Whether Defendant violated 15 U.S.C. § 1681g(a) by not disclosing
 19                 each person that procured a report during the previous year in response
 20                 to consumer requests;
 21          e)     Whether Defendant’s conduct was unlawful, unfair, or fraudulent
 22                 under the UCL;
 23          f)     Whether Defendant’s violations of the FCRA and CCRAA were
 24                 willful;
 25
             g)     The proper scope of injunctive relief; and
 26
             h)     The proper measure of damages.
 27
             61.    Typicality: Plaintiff’s claims are typical of the members of the Classes.
 28
      It is typical for Defendant to match consumers to public records using only a name
      ___________________________________________________________________________________________
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  1   or common name. The FCRA, CCRAA, and UCL violations suffered by Plaintiff
  2   are typical of those suffered by other class members, and Defendant treated Plaintiff
  3   consistently with other class members in accordance with its standard policies and
  4   practices.
  5
             62.    Adequacy: Plaintiff will fairly and adequately protect the interests of
  6
      the Classes because he and his experienced counsel are free of any conflicts of
  7
      interest and are prepared to vigorously litigate this action on behalf of the Classes.
  8
             63.    Class certification is appropriate under Fed. R. Civ. 23(b)(3) because
  9
      questions of law and fact common to the Classes predominate over any questions
 10
      affecting only individual members of the Classes, and because a class action is
 11
      superior to other available methods for the fair and efficient adjudication of this
 12
      litigation. Defendant’s conduct described in this Complaint stems from common
 13
 14
      and uniform policies and practices, resulting in common violations of the CCRAA,

 15   FCRA, and UCL. Members of the Classes do not have an interest in pursuing

 16   separate actions against Defendant, as the amount of each class member’s
 17   individual claim is small compared to the expense and burden of individual
 18   prosecution. Class certification also will obviate the need for unduly duplicative
 19   litigation that might result in inconsistent judgments concerning Defendant’s
 20   practices. Moreover, management of this action as a class action will not present
 21   any likely difficulties. In the interests of justice and judicial efficiency, it would be
 22   desirable to concentrate the litigation of all class members’ claims in a single forum.
 23          64.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2)
 24   for equitable or injunctive relief because Defendant has acted or refused to act on
 25
      grounds that apply generally to the Classes such that final injunctive relief is
 26
      appropriate respecting the Classes as a whole.
 27
             65.    In view of the complexities of the issues and the expenses of litigation,
 28
      the separate claims of individual class members are insufficient in amount to
      ___________________________________________________________________________________________
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  1   support separate actions.
  2          66.    Yet, the amount which may be recovered by individual class members
  3   will be large enough in relation to the expense and effort of administering the action
  4   to justify a class action. The administration of this action can be handled by class
  5
      counsel or a third-party administrator, and the costs of administration will represent
  6
      only a small fraction of the ultimate recovery to be achieved.
  7                                        COUNT I
  8                              CAL. CIV. CODE § 1785.14(b)
                      On behalf of Plaintiff individually and on behalf
  9                           of the Inaccurate Reporting Class
 10          67.    Plaintiff reiterates each of the allegations in the preceding paragraphs
 11
      as if set forth at length herein.
 12
             68.    Defendant violated CAL. CIV. CODE § 1785.14(b) by failing to
 13
      establish or to follow reasonable procedures to assure maximum possible accuracy
 14
      in the preparation of the consumer reports it furnished regarding Plaintiff and
 15
      members of the Inaccurate Reporting Class. For example, Defendant misidentified
 16
      Plaintiff as a suspected terrorist and/or narcotics trafficker based solely on a name-
 17
      only match, without verifying other data points, or consulting with publicly
 18
      available online records.
 19
             69.    The foregoing violations were negligent and/or willful. Defendant
 20
 21   acted in knowing or reckless disregard of its obligations and the rights of Plaintiff

 22   and other Inaccurate Reporting Class members under CAL. CIV. CODE § 1785.14(b).
 23          70.    As a result of Defendant’s conduct, Plaintiff and Inaccurate Reporting
 24   Class members suffered actual damages including but not limited to: denial of
 25   credit, damage to reputation, embarrassment, humiliation and other mental and
 26   emotional distress.
 27          71.    Plaintiff and members of the Inaccurate Reporting Class are entitled to
 28   recover actual damages, punitive damages, injunctive relief, costs and attorneys’
      ___________________________________________________________________________________________
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  1   fees from the Defendant in an amount to be determined by the Court pursuant to
  2   CAL. CIV. CODE § 1785.31.
  3                                      COUNT II
                                     15 U.S.C. § 1681e(b)
  4
                       On behalf of Plaintiff individually and on behalf
  5                     of the Inaccurate Reporting FCRA Subclass
  6          72.    Plaintiff reiterates each of the allegations in the preceding paragraphs
  7   as if set forth at length herein.
  8          73.    Defendant violated 15 U.S.C. § 1681e(b) by failing to establish or to
  9   follow reasonable procedures to assure maximum possible accuracy in the
 10   preparation of the consumer reports it furnished regarding Plaintiff and members of
 11
      the Inaccurate Reporting FCRA Subclass. For example, Defendant misidentified
 12
      Plaintiff as a suspected terrorist and/or narcotics trafficker based solely on a name-
 13
      only match, without verifying other data points, or consulting with publicly
 14
      available online records.
 15
             74.    The foregoing violations were negligent and/or willful. Defendant
 16
      acted in knowing or reckless disregard of its obligations and the rights of Plaintiff
 17
      and other Inaccurate Reporting FCRA Subclass members under 15 U.S.C. §
 18
      1681e(b).
 19
             75.    As a result of Defendant’s conduct, Plaintiff and Inaccurate Reporting
 20
 21   FCRA Subclass members suffered actual damages including but not limited to

 22   impairment to credit, damage to reputation, embarrassment, humiliation and other
 23   mental and emotional distress.
 24          76.    Plaintiff and members of the Inaccurate Reporting FCRA Subclass are
 25   entitled to recover actual damages and/or statutory damages, punitive damages,
 26   costs and attorneys’ fees from the Defendant in an amount to be determined by the
 27   Court pursuant to 15 U.S.C. § 1681o and 15 U.S.C. § 1681n.
 28

      ___________________________________________________________________________________________
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  1                                      COUNT III
                                     15 U.S.C. § 1681g(a)
  2                   On behalf of Plaintiff individually and on behalf
  3           of the Failure to Disclose Class and the Failure to Identify Class
  4          77.       Plaintiff reiterates each of the allegations in the preceding paragraphs
  5   as if set forth at length herein.
  6          78.       Defendant violated 15 U.S.C. § 1681g(a) by failing to disclose upon
  7   request “all information in the consumer’s file” and the identification of each person
  8   that had requested Plaintiff’s consumer report in the preceding year before the
  9   request was made.
 10          79.       The foregoing violations were negligent and/or willful. Defendant
 11
      acted in knowing or reckless disregard of its obligations and the rights of Plaintiff
 12
      and other class members under 15 U.S.C. § 1681g(a).
 13
             80.       As a result of Defendant’s conduct, Plaintiff and members of the
 14
      Failure to Disclose and Failure to Identify Classes were deprived of information
 15
      regarding the contents of their consumer files and the entities that had requested
 16
      their reports.
 17
             81.       Plaintiff and members of the Failure to Disclose and Failure to Identify
 18
      Classes are entitled to recover actual damages and/or statutory damages, punitive
 19
      damages, costs and attorneys’ fees from the Defendant in an amount to be
 20
 21   determined by the Court pursuant to 15 U.S.C. § 1681n and § 1681o.

 22                                         COUNT IV
 23                                 15 U.S.C. § 1681i(a)(1)(A)
                                 On behalf of Plaintiff Individually
 24
             82.       Plaintiff reiterates each of the allegations in the preceding paragraphs
 25
      as if set forth at length herein.
 26
 27
             83.       Defendant violated 15 U.S.C. § 1681i(a) by failing to conduct a

 28   reinvestigation to determine if the information it reported was accurate, and by

      ___________________________________________________________________________________________
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  1   failing to correct inaccurate information.
  2          84.    The foregoing violation was negligent and/or willful. Defendant acted
  3   in knowing or reckless disregard of its obligations and the rights of Plaintiff under
  4   15 U.S.C. § 1681i(a)(1)(A).
  5
             85.    As a result of Defendant’s conduct, Plaintiff suffered actual damages
  6
      including frustration, annoyance, anger and other distress.
  7
             86.    Plaintiff is entitled to recover actual damages and/or statutory
  8
      damages, punitive damages, costs and attorneys’ fees from the Defendant in an
  9
      amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and § 1681o.
 10
 11                                        COUNT V
 12                               CAL. CIV. CODE § 1785.16(a)
                                On behalf of Plaintiff Individually
 13
             87.    Plaintiff reiterates each of the allegations in the preceding paragraphs
 14
      as if set forth at length herein.
 15
             88.    Defendant violated CAL. CIV. CODE § 1785.16(a) by failing to conduct
 16
      a reinvestigation to determine if the information it reported was accurate, and by
 17
      failing to correct inaccurate information.
 18
 19
             89.    The foregoing violation was negligent and/or willful. Defendant acted

 20   in knowing or reckless disregard of its obligations and the rights of Plaintiff under

 21   CAL. CIV. CODE § 1785.16(a).
 22          90.    As a result of Defendant’s conduct, Plaintiff suffered actual damages
 23   including frustration, annoyance, anger and other distress.
 24          91.    Plaintiff is entitled to recover actual damages and/or statutory
 25   damages, punitive damages, costs and attorneys’ fees from the Defendant in an
 26   amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and § 1681o.
 27
 28

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  1                                        COUNT VI
                                   15 U.S.C. § 1681i(a)(6)(A)
  2                             On behalf of Plaintiff Individually
  3           92.   Plaintiff reiterates each of the allegations in the preceding paragraphs
  4   as if set forth at length herein.
  5
              93.   Defendant violated 15 U.S.C. § 1681i(a)(6)(A) by failing to provide
  6
      written notice to Plaintiff of the results of the reinvestigation within five business
  7
      days.
  8
              94.   The foregoing violation was negligent and/or willful. Defendant acted
  9
      in knowing or reckless disregard of its obligations and the rights of Plaintiff under
 10
      15 U.S.C. § 1681i(a)(6)(A).
 11
              95.   As a result of Defendant’s conduct, Plaintiff suffered actual damages
 12
      including frustration, annoyance, anger and other distress.
 13
 14
              96.   Plaintiff is entitled to recover actual damages and/or statutory

 15   damages, punitive damages, costs and attorneys’ fees from the Defendant in an
 16   amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and § 1681o.
 17
                                       COUNT VII
 18                      CAL. BUS. & PROF. CODE § 17200, et seq.
 19
         On behalf of Plaintiff Individually and the Inaccurate Reporting UCL
       Subclass, the Failure to Disclose UCL Subclass, and the Failure to Identify
 20                                   UCL Subclass
 21           97.   Plaintiff reiterates each of the allegations in the preceding paragraphs
 22   as if set forth at length herein.
 23           98.   By asserting Plaintiff was a terrorist and failing to provide information
 24
      in response to a disclosure request, Defendant diminished Plaintiff’s credit
 25
      opportunity and deprived him of information relevant to his credit prospects.
 26
              99.   Defendant’s      inaccurate    reporting     and    inaccurate    disclosures
 27
      constituted unlawful, unfair, and fraudulent business practices.
 28
              100. Defendant’s practices were unlawful because they violate the FCRA
      ___________________________________________________________________________________________
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  1   and CCRAA.
  2          101. Both the FCRA and CCRAA required Defendant to follow reasonable
  3   procedures to assure maximum possible accuracy of the information it reported.
  4   15 U.S.C. § 1681e(b); CAL. CIV. CODE § 1785.14(b).                   As described above,
  5
      Defendant violated these provisions.
  6
             102. Further, the FCRA required Defendant to disclose the information it
  7
      reported to Pulte and disclose the fact that it reported information to Pulte.
  8
      15 U.S.C. § 1681g(a).
  9
             103. Defendant’s practices were also unfair, because it is unethical,
 10
      immoral, unscrupulous, oppressive, and substantially injurious to consumers to
 11
      match terrorist records based on insufficient criteria, and to further fail to provide
 12
      adequate disclosures about what information was reported and to whom that
 13
 14
      information was reported.

 15          104. Defendant’s practices were fraudulent because the report recipients

 16   were deceived and/or were likely to be deceived by Defendant’s inaccurate
 17   representations that Plaintiff and class members were likely terrorists, and by
 18   Defendant’s incomplete disclosures regarding what information was reported and
 19   to whom that information was reported.
 20          105. The harm caused by these business practices vastly outweighs any
 21   legitimate utility they possible could have.
 22          106. Because Plaintiff will seek a mortgage in the future, and because of the
 23   ubiquity of Defendant’s reports in mortgage screening, there is a real and immediate
 24   threat that Plaintiff will suffer the same injury with respect to future rental
 25
      applications.
 26
             107. Plaintiff and the members of the Inaccurate Reporting UCL Subclass,
 27
      the Failure to Disclose UCL Subclass, and Failure to Identify UCL Subclass are
 28
      entitled to injunctive relief and to the recovery of attorneys’ fees and costs.
      ___________________________________________________________________________________________
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  1                                  PRAYER FOR RELIEF
  2          WHEREFORE, Plaintiff, on behalf of himself and the Classes, seeks the
  3   following relief:
  4                 a. Determining that this action may proceed as a class action under
  5
                        Fed. R. Civ. P. 23;
  6
                    b. Designating Plaintiff as the class representative for the Classes;
  7
                    c. Designating Plaintiff’s Counsel as counsel for the Classes;
  8
                    d. Issuing proper notice to the Classes at Defendant’s expense;
  9
                    e. Declaring that Defendant committed multiple, separate violations
 10
                        of the FCRA, CCRAA, and UCL;
 11
                    f. Declaring that Defendant acted negligently, willfully, and in
 12
                        deliberate or reckless disregard of the rights of Plaintiff and the
 13
 14
                        Classes under the FCRA, CCRAA, and UCL;

 15                 g. Awarding actual and/or statutory damages as provided by the

 16                     FCRA and CCRAA;
 17                 h. Awarding punitive damages;
 18                 i. Granting appropriate injunctive relief;
 19                 j. Awarding reasonable attorneys’ fees and costs and expenses, as
 20                     provided by the FCRA, CCRAA, and UCL; and
 21                 k. Granting such other and further relief, in law or equity, as this Court
 22                     may deem appropriate and just.
 23                                       JURY DEMAND
 24          Plaintiff, on behalf of himself and the Classes, demands a trial by jury on all
 25
      issues triable by a jury.
 26
      Dated: September 28, 2020                         Respectfully submitted,
 27
 28                                                     /s/John G. Albanese
      ___________________________________________________________________________________________
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